     Case
      Case1:23-mj-00012-GMH
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES

v.                                            CASE NO: 1:23-mj-00012

Farbod Francis Azari



                                    ORDER

Upon consideration of Defendant’s Unopposed Motion to Modify Curfew, it is the
  22nd
_________         March, 2023
          day of___________.

Ordered that:

That the Defendant’s Curfew is changed from 9 pm – 6 am to 11 pm to 6 am.
All other conditions shall remain.
                                               Zia M.      Digitally signed by
                                                               Zia M. Faruqui

                                               Faruqui         Date: 2023.03.22
                                                               12:18:30 -04'00'

                                                Magistrate Judge Zia M. Faruqui
